         Case 1:20-cv-12090-DPW Document 61 Filed 12/10/20 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS



  ALLIANCE FOR AUTOMOTIVE INNOVATION,

                                 Plaintiff,

                            v.                             CIVIL ACTION
                                                           NO. 1:20-cv-12090-DPW
  MAURA HEALEY, ATTORNEY GENERAL OF
  THE COMMONWEWALTH OF
  MASSACHUSETTS in her official capacity,

                                 Defendant.


      DEFENDANT ATTORNEY GENERAL MAURA HEALEY’S RESPONSE TO
     PLAINTIFF’S MOTION TO STAY COUNTS 3 THROUGH 7 OF COMPLAINT

       The Office of Attorney General believes that prompt resolution of the plaintiff’s claims

challenging the 2020 Right to Repair Law is in the public interest. Because the plaintiff’s claims

(including counts 3-7) do not state any plausible claim for relief as a matter of law, they should

be dismissed pursuant to Federal Rule of Civil Procedure 12(b). The Office of the Attorney

General intends to file such a Motion to Dismiss by December 18, and believes that the Court

should defer ruling on the plaintiff’s Motion to Stay Counts 3 Through 7 (ECF #57) until after it

rules on the Attorney General’s forthcoming Motion to Dismiss.

       In the event that the Court denies the forthcoming Motion to Dismiss as to any or all of

counts 3 through 7, the Office of the Attorney General would not object to staying those counts

pending resolution of counts 1 and 2.




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         Case 1:20-cv-12090-DPW Document 61 Filed 12/10/20 Page 2 of 2




                                      Respectfully submitted,

                                      DEFENDANT ATTORNEY
                                      GENERAL MAURA HEALEY,

                                      By her attorneys,

       December 11, 2020                 /s/ Eric A. Haskell      .
                                      Robert E. Toone, BBO #663249
                                      Eric A. Haskell, BBO #665533
                                      Jennifer E. Greaney, BBO #643337
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                                CERTIFICATE OF SERVICE

        I certify that a true copy of this document will be sent electronically by the ECF system
to attorneys of record identified on the Notice of Electronic Filing.

                                                      /s/ Eric A. Haskell
                                                     ________________________
December 11, 2020                                           Eric A. Haskell
                                                      Assistant Attorney General




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